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 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          CASE NO. 1:10-cr-00249 AWI BAM
12                                Plaintiff,            STIPULATION AND ORDER
                                                        RESETTING RESTITUTION
13                                                      HEARING
14   v.
                                                        Old Date: July 27, 2015
15                                                      Old Time: 10:00 a.m.
16   DARLING ARLETTE MONTALVO                           New Date: Sept. 8, 2015
                                                        New Time: 10:00 a.m.
17                                Defendants.           Court:    Two
                                                               (Hon. Anthony W. Ishii)
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19
20                                              STIPULATION

21          The United States of America, by and through its counsel of record, and defendant Darling

22 Arlette Montalvo, by and through her counsel of record, hereby stipulate as follows:

23          1.     Defendant Darling Arlette Montalvo was sentenced by the Court on April 13, 2015,

24 following conviction after a jury trial of one count of conspiracy to commit mail, wire and bank

25 fraud (18 U.S.C. § 1349), ten counts of mail fraud (18 U.S.C. § 1341) and one count of money
26 laundering and aiding and abetting (18 U.S.C. §§ 1957 and 2).

27          2.     Pursuant to 18 U.S.C. § 3664(d)(5), a restitution hearing is currently set for July 27,

28 2015 at 10:00 a.m. to determine the restitution owed by defendant Montalvo. However,
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 1 Ms. Montalvo was arrested on a separate matter in Washington state prior to her self-surrender date

 2 in the present case, and she is currently in custody on pending state charges in Washington. Due to

 3 her custody status, defense counsel has been unable to confirm whether Ms. Montalvo will waive her

 4 presence at the restitution hearing or whether she will stipulate as to the restitution owed.

 5 Accordingly, the parties jointly seek a six week continuance of the restitution hearing, to

 6 September 8, 2015, at 10:00 a.m. so that Ms. Montalvo can be brought before the court for the

 7 restitution hearing. The government has conferred with the Marshals Service regarding the time

 8 needed to obtain Ms. Montalvo’s presence by writ, and the Marshals Service has indicated that six
 9 weeks should provide sufficient time to ensure Ms. Montalvo’s presence before the court.

10          3.      The agreed restitution hearing on September 8, 2015 will take place more than 90

11 days after the defendant’s sentencing hearing. The parties agree that, pursuant to Dolan v. United

12 States, 560 U.S. 605, 608 (2010), the Court previously ordered in its June 18, 2015 Order [Doc. 363]

13 that the defendant pay restitution, which satisfies the deadline set forth in 18 U.S.C. § 3664(d)(5).

14 The parties agree that, pursuant to Dolan, the determination of the amount and apportionment of

15 restitution may occur either by stipulation or at the continued restitution hearing.

16          IT IS SO STIPULATED.

17 DATED:           July 23, 2015          /s/ Kirk E. Sherriff
                                           HENRY Z. CARBAJAL III
18                                         KIRK E. SHERRIFF
                                           Assistant United States Attorney
19
20 DATED:           July 23, 2015          /s/ Eric V. Kersten
                                           (authorized on 7/23/15)
21                                         ERIC V. KERSTEN
                                           Counsel for Defendant
22                                         DARLING ARLETTE MONTALVO
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 1                                               ORDER
 2          The Court has previously ordered that defendant Darling Arlette Montalvo pay restitution, as

 3 restitution is mandatory pursuant to her convictions at trial for conspiracy, mail fraud, and money

 4 laundering, and 18 U.S.C. § 3663A(c)(1)(A)(ii). The remaining issue of the amount and

 5 apportionment of restitution shall be resolved at or before a restitution hearing on September 8,

 6 2015 at 10:00 a.m.

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     IT IS SO ORDERED.
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     Dated: July 23, 2015
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                                                SENIOR DISTRICT JUDGE
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